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        League, NFL Enterprises LLC, and the
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   16
                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
   20
          LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
          ANTITRUST LITIGATION                            LIMINE NO. 3 TO EXCLUDE
   21     ______________________________                  REFERENCE TO PAST
                                                          LITIGATION AGAINST THE NFL
   22
          THIS DOCUMENT RELATES TO:                       Judge: Hon. Philip S. Gutierrez
   23                                                     Date: February 7, 2024
          ALL ACTIONS
   24                                                     Time: 2:30 p.m.
                                                          Courtroom: First Street Courthouse
   25
                                                                     350 West 1st Street
   26                                                                Courtroom 6A
                                                                     Los Angeles, CA 90012
   27

   28
         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 3 To Exclude Reference To Past
                                                 Litigation Against The NFL
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    1
                Past lawsuits against the NFL—lawsuits involving different parties, different
    2
        claims, and different facts—have no bearing on this case. Nonetheless, Plaintiffs
    3
        seem poised to present evidence about such cases to the jury. For example, the reports
    4
        of Plaintiffs’ expert Dr. Daniel Rascher refer repeatedly to various prior lawsuits
    5
        involving the NFL and the NFL clubs. See, e.g., ECF No. 962-4, Expert Report of
    6
        Daniel A. Rascher, dated February 17, 2023 (“Rascher Rep.”) ¶¶ 69, 76 n.77, 78 n.82,
    7
        129 & n.178, 143, 274 n.379; ECF No. 962-5, Expert Reply Report of Daniel A.
    8
        Rascher, dated June 9, 2023 (“Rascher Reply Rep.”) ¶¶ 28, 37, 182–83. Discussion
    9
        of prior lawsuits would have little or no probative value at trial—at most, such
   10
        references are an indirect way of presenting background facts that Plaintiffs can elicit
   11
        through other means. Worse, such testimony would create a significant risk of
   12
        prejudice to the NFL Defendants by inviting the jury to import earlier findings into
   13
        this case, generating confusion, and wasting significant trial time. The Court should
   14
        exclude evidence of these prior lawsuits as inadmissible under Rules 402 and 403.
   15
        I.      Past Litigation Against The NFL Is Irrelevant.
   16
                Information about prior lawsuits against the NFL is not relevant to this case.
   17
        See Fed. R. Evid. 401, 402. The cases Dr. Rascher refers to are illustrative. For
   18
        example, American Needle, Inc. v. National Football League, 560 U.S. 183 (2010),
   19
        had nothing to do with sports broadcasting at all; it involved the licensing of NFL
   20
        teams’ separately owned marks for apparel. Shaw v. Dallas Cowboys Football Club,
   21
        Ltd., 1998 WL 419765 (E.D. Pa. June 23, 1998), aff’d, 172 F.3d 299 (3d Cir. 1999),
   22
        addressed a now decades-old contract between DirecTV and the NFL that was
   23
        fundamentally different from the one challenged here, and in any event involved
   24
        rulings only with respect to the sufficiency of the complaint’s allegations. The Matter
   25
        of Herring Broad., Inc. d/b/a Wealthtv, Complainant, 23 F.C.C. Rcd. 14787 (2008),
   26
        dealt with Comcast’s carriage of NFL Network on a premium tier; it had nothing to
   27
        do with the Sunday Ticket product. None of these cases has any probative relevance
   28
        to the business practices at issue in this case. And United States v. National Football
                                                    1
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    1
        League, 196 F. Supp. 445 (E.D. Pa. 1961), is relevant at most to the development of
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        the NFL’s broadcasting arrangement more than a half-century ago, not to Plaintiffs’
    3
        allegations that NFL Defendants’ current broadcasting arrangements violate the
    4
        Sherman Act. See Grace v. Apple, Inc., 2020 WL 227404, at *2 (N.D. Cal. Jan. 15,
    5
        2020) (Koh, J.) (excluding reference to patent lawsuit against Apple in part because
    6
        it offered only “background facts,” and so was at most “minimal[ly] probative”).
    7
        II.     Testimony About Past Litigation Risks Substantial Prejudice And Would
    8           Waste Substantial Time.
    9           Any minimal relevance of past litigation against the NFL or the clubs is also
   10   substantially outweighed by the prejudicial effect that reference to these cases would
   11   have before a jury. Fed. R. Evid. 403. The Ninth Circuit has repeatedly held that
   12   references to the results of one party’s past litigation create “a substantial risk that
   13   the jury w[ill] import the whole verdict of liability from the prior proceeding.”
   14   Engquist v. Or. Dep’t of Agric., 478 F.3d 985, 1010 (9th Cir. 2007), aff’d, 553 U.S.
   15   591 (2008). Accordingly, courts routinely exclude evidence relating to such past
   16   litigation from trial. Id.; see also, e.g., United States v. Sine, 493 F.3d 1021, 1034–35
   17   (9th Cir. 2007) (excluding reference to a judge’s conclusion in a prior trial that a
   18   witness was not credible because a jury would give it undue weight). The Court
   19   should exclude evidence of such past litigations here for multiple reasons.
   20           First, as in Engquist, there is a substantial risk that the jury will give undue
   21   weight to the outcome of these past, irrelevant lawsuits against the NFL. At a
   22   baseline, courts in this circuit have noted the risk that juries will defer to decisions
   23   “by an authoritative, professional factfinder [that is, a judge] rather than determine
   24   those issues for themselves.” Sine, 493 F.3d at 1033 (making this observation with
   25   respect to credibility determinations); Barten v. State Farm Mut. Auto. Ins. Co., 2015
   26   WL 11111309, at *4 (D. Ariz. Apr. 8, 2015) (similar); Cardinal v. Buchnoff, 2010
   27   WL 3339509, at *2 (S.D. Cal. Aug. 23, 2010) (similar). This principle applies
   28   squarely here. For example, references to American Needle, decided by the Supreme
                                                     2
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    1
        Court, create the highest levels of risk that a jury will defer to the Court as an
    2
        “authoritative, professional factfinder,” without considering the fundamental
    3
        differences between that case and this one. What is more, the “complicated and
    4
        technical nature of th[is] trial” makes a jury even more likely to defer to courts’ past
    5
        conclusions about the NFL Defendants, whether or not they are correct or applicable
    6
        to the facts of this case. See Ormco Corp. v. Align Tech., Inc., 2009 WL 10668458,
    7
        at *2 (C.D. Cal. May 12, 2009) (noting the heightened risk of prejudice in
    8
        complicated cases).
    9
                Second, the introduction of necessarily fact-intensive, complex antitrust
   10
        precedent would require a detailed and contentious re-litigation of those prior cases,
   11
        needlessly distracting the jury. For example, Shaw considered a challenge to a past
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        Sunday Ticket agreement and was settled after the pleadings. If Plaintiffs were to
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        introduce evidence regarding Shaw, the NFL Defendants would need to introduce
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        responsive evidence to provide appropriate context for the jury, including
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        explanations of the different contracts at issue in that case, all with a further
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        explanation of and caution about the lack of fact-finding at the motion to dismiss
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        stage. This type of detour from the core issues of the case warrants exclusion. See
   18
        Grace, 2020 WL 227404, at *3; United States v. Kealoha, 2019 WL 2620004, at *6
   19
        (D. Haw. June 26, 2019) (refusing to admit a past verdict because it would “open up
   20
        the door to further evidence about the [underlying] civil trial,” causing “undue
   21
        delay”); Wrather v. Farnam Cos., Inc., 2003 WL 25667639, at *1 (C.D. Cal. Nov. 3,
   22
        2003) (similar).
   23
                A jury would be even further distracted if Plaintiffs sought to introduce
   24
        evidence regarding the procedurally complicated NFL Network/Comcast dispute,
   25
        Matter of Herring Broad. To help the jury understand that dispute, Defendants would
   26
        need to respond by introducing evidence to explain not only the facts of the case, but
   27
        also the standards applied in FCC hearings, the differences between carriage disputes
   28
        and FCC violations, and the burden of proof applied. This is the kind of needless
                                                    3
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    1
        distraction that the Grace court, and others in this district, routinely cite to exclude
    2
        testimony about past litigation. See 2020 WL 227404, at *3.
    3
                Finally, any relevant information conveyed through these cases can be
    4
        established through less complex and less prejudicial means. See, e.g., Engquist, 478
    5
        F.3d at 1010; Sine, 493 F.3d at 1035 (rejecting argument that admission of past
    6
        verdict was warranted to avoid “practical difficulties” of introducing additional
    7
        evidence). For example, to the extent that Plaintiffs wish to introduce evidence about
    8
        the historical landscape of NFL broadcasting, they can rely on factual evidence
    9
        regarding the different broadcasting arrangements the NFL has had over time without
   10
        reference to any other litigation. This Court should require them to follow this
   11
        approach, rather than condone the practice of relying on the irrelevant and prejudicial
   12
        details of other litigations. See Sine, 493 F.3d at 1035.
   13
                Evidence of past litigations against the NFL or its clubs offers little, if any,
   14
        insight into the competitive effects of the NFL’s current Sunday Ticket broadcasting
   15
        arrangement. Plaintiffs should not be permitted to prolong the trial with confusing
   16
        and irrelevant evidence that invites jurors to decide this case based on unproven
   17
        allegations or judicial rulings in past cases. The court should exclude references to
   18
        these past litigations under Rules 402 and 403.
   19
        January 5, 2024                          Respectfully submitted,
   20
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    1                                       PROOF OF SERVICE
    2                   I HEREBY CERTIFY that on January 5, 2024, I electronically
    3
                filed the foregoing document with the Clerk of the Court using CM/ECF.
                I also certify the foregoing document is being served this day on all
    4           counsel of record in this case via transmission of Notice of Electronic
    5           Filing generated by CM/ECF.

    6                                            /s/ Beth A. Wilkinson
                                                 Beth A. Wilkinson
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         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 3 To Exclude Reference To Past
                                                 Litigation Against The NFL
